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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE: DOMESTIC DRYWALL
 ANTITRUST LITIGATION
                                                         CIVIL ACTION
 THIS DOCUMENT RELATES TO:
                                                         MDL No. 13-2437
 Ashton Woods Holdings LLC, et al.,
       Plaintiffs,                                       15-cv-1712

        v.

 USG Corp., et al.,
      Defendants.


                             ORDER RE: DAUBERT MOTIONS

       AND NOW, this 6th day of April, 2020, upon consideration of Homebuilder Plaintiffs’

Motion to Preclude the Testimony of Defendants’ Expert, David Hall, (ECF 321), Homebuilder

Plaintiffs’ Motion to Preclude the Testimony of Defendants’ Expert, Dr. Robert Willig, (ECF 320),

and Defendants’ Motion to Preclude the Testimony of Homebuilder Plaintiffs’ Expert, Dr. Daniel

Ingberman, (ECF 319), the responses and replies thereto, oral argument, and the supplemental

materials submitted by the parties, for the reasons stated in the foregoing memorandum it is hereby

ORDERED that:

   1. Homebuilder Plaintiffs’ Motion to Preclude the Testimony of Defendants’ Expert, David

       Hall, (ECF 321), is GRANTED.

   2. Homebuilder Plaintiffs’ Motion to Preclude the Testimony of Defendants’ Expert, Dr.

       Robert Willig, (ECF 320), is DENIED.

   3. Defendants’ Motion to Preclude the Testimony of Homebuilder Plaintiffs’ Expert, Dr.

       Daniel Ingberman, (ECF 319), is DENIED.




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                                                            BY THE COURT:

                                                            s/ Michael M. Baylson

Dated: April 6, 2020                                        _________________________________
                                                            MICHAEL M. BAYLSON
                                                            United States District Court Judge
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